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 Attorneys for Defendants
 David J. Lujan, Anna B. Lujan and
 INOKO LLC

                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

 STACY MONIZ                           )   CIVIL NO.: 14 CV 00465 DKW-RLP
                                       )
               Plaintiff,              )
                                       )   DEFENDANTS DAVID J. LUJAN,
    vs.                                )   ANNA B. LUJAN AND INOKO LLC’S
                                       )   INITIAL DISCLOSURES;
 DAVID J. LUJAN; ANNA B.               )   CERTIFICATE OF DISCLOSURE;
 LUJAN; INOKO LLC, a Hawaii            )   CERTIFICATE OF SERVICE
 limited liability company and DOE     )
 DEFENDANTS 1-20,                      )
                                       )
               Defendants.             )
                                       )

              DEFENDANTS DAVID J. LUJAN, ANNA B. LUJAN AND
                    INOKO LLC’S INITIAL DISCLOSURES

          Come now Defendants David J. Lujan, Anna B. Lujan, and Inoko LLC, by

 and through their attorneys, Rosenberg & McKay, and pursuant to Rule 26(a)(1) of

 the Federal Rules of Civil Procedure, hereby submit their Initial Disclosures.
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 I.    KNOWN WITNESSES

       1.     David J. Lujan, c/o Rosenberg & McKay, 733 Bishop Street, Suite

 2070 Makai Tower, Pacific Guardian Center, Honolulu, Hawaii 96813;

       2.     Anna B. Lujan, c/o Rosenberg & McKay, 733 Bishop Street, Suite

 2070 Makai Tower, Pacific Guardian Center, Honolulu, Hawaii 96813;

       3.     Stacy Moniz, 47-563 Hua Place, Kaneohe, Hawaii 96744;

       4.     Bonny Moniz, 47-563 Hua Place, Kaneohe, Hawaii 96744;

       5.     Barry Isreal; 12 6 Khoi Ngia Bac Son, Villa A-1 Ward 10, Dalat City,

 Lam Dong Province VN.

       6.     Doron Weinberg, 523 Octavia Street, San Francisco, CA 94102.

       Defendants reserve the right to amend and/or supplement this list throughout

 the course of litigation and discovery. Defendants reserve the right to call any

 witnesses listed by Plaintiff, to call custodians of records as necessary, and to call

 witnesses in rebuttal.

 II.   EXHIBITS

       a.     Correspondence from and to Plaintiff;

       b.     Plaintiff’s Invoices;

       c.     Receipts/payments to Plaintiff.

       Discovery is ongoing. Defendants reserve the right to amend and/or

 supplement this list throughout the course of discovery, to introduce exhibits listed


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 by Plaintiff, and to introduce exhibits for impeachment and rebuttal.

       DATED: Honolulu, Hawaii, January 2, 2015.


                                        /s/ Randall L.K.M. Rosenberg
                                        RANDALL L.K.M. ROSENBERG

                                        Attorneys for Defendants
                                        David J. Lujan, Anna B. Lujan and
                                        INOKO LLC




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                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

 STACY MONIZ                              )   CIVIL NO.: 14 CV 00465 DKW-RLP
                                          )
                Plaintiff,                )
                                          )   CERTIFICATE OF DISCLOSURE
    vs.                                   )
                                          )
 DAVID J. LUJAN; ANNA B.                  )
 LUJAN; INOKO LLC, a Hawaii               )
 limited liability company and DOE        )
 DEFENDANTS 1-20,                         )
                                          )
                Defendants.               )
                                          )

                             CERTIFICATE OF DISCLOSURE

          Pursuant to Rule 26(g) of the Federal Rules of Civil Procedure, I hereby
 certify that, to the best of my knowledge, information and belief formed after a
 reasonable inquiry, this disclosure is complete and correct as of the time it is made.
          DATED: Honolulu, Hawaii, January 2, 2015.



                                          /s/ Randall L.K.M. Rosenberg
                                          RANDALL L.K.M. ROSENBERG
                                          Rosenberg & McKay
                                          grmlaw@hawaii.rr.com
                                          (808) 536-4270

                                          Attorney for Defendants
                                          David J. Lujan, Anna B. Lujan and
                                          INOKO LLC




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                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

 STACY MONIZ                             )   CIVIL NO.: 14 CV 00465 DKW-RLP
                                         )
                Plaintiff,               )
                                         )   CERTIFICATE OF SERVICE
    vs.                                  )
                                         )
 DAVID J. LUJAN; ANNA B.                 )
 LUJAN; INOKO LLC, a Hawaii              )
 limited liability company and DOE       )
 DEFENDANTS 1-20,                        )
                                         )
                Defendants.              )
                                         )

                              CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a copy of the foregoing upon filing
 shall be duly served on the following individual(s) on January 2, 2015 via U.S.
 Mail at his last known address listed below:
                                      Stacy Moniz
                                   47-563 Hua Place
                                 Kaneohe, Hawaii 96744

                                     Plaintiff Pro Se

          DATED: Honolulu, Hawaii, January 2, 2015.

                                          /s/ Randall L.K.M. Rosenberg
                                          RANDALL L.K.M. ROSENBERG

                                          Attorneys for Defendants
                                          David J. Lujan, Anna B. Lujan and
                                          INOKO LLC


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